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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


 Civil Action No. 13-cv-01448-MSK
 Criminal Action No. 12-cr-00010-MSK-1

 UNITEDS STATES OF AMERICA,

       Petitioner,

 v.

 GEORGE HARRISON ASKEW,

       Respondent.


                                   FINAL JUDGMENT


       In accordance with the orders filed during the pendency of this case, the

 following Final Judgment is hereby entered.

       Pursuant to the Opinion and Order Denying Motion to Vacate [#1019] of Chief

 Judge Marcia S. Krieger entered on 4/18/14 it is

 ORDERED that the Motion to Vacate [#881] filed 4/18/14, is denied.




        Dated at Denver, Colorado this 21st day of April, 2014.

                                                FOR THE COURT:
                                                JEFFREY P. COLWELL, CLERK

                                            By: s/   D. Kalsow
                                                     Deputy Clerk
